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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly Administered)



                                                             Hearing Date: October 25, 2023 at 10:00 a.m. (ET)
                                                    Objection Deadline: At the Hearing, per L.R. 9018-1(d)(viii)

     NOTICE OF HEARING ON DEBTORS’ MOTION FOR ENTRY OF AN ORDER
    AUTHORIZING EXHIBIT A TO THE OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS’ OBJECTION TO THE DEBTORS’ MOTION TO CONTINUE THE
    HEARING ON THE COMMITTEE’S APPLICATION TO RETAIN JEFFERIES LLC
          AS INVESTMENT BANKER TO BE MAINTAINED UNDER SEAL


         PLEASE TAKE NOTICE that on October 18, 2023, the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”) filed the attached Debtors’ Motion for Entry of

an Order Authorizing Exhibit A to the Official Committee of Unsecured Creditors’ Objection to

the Debtors’ Motion to Continue the Hearing on the Committee’s Application to Retain Jefferies

LLC as Investment Banker to Be Maintained Under Seal (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that any objections to entry of the relief requested

in the Motion are due at the hearing on the Motion.

         PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief requested in

the Motion will be held before the Honorable Thomas M. Horan at the United States Bankruptcy




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     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.
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Court for the District of Delaware, 824 North Market Street, 3rd Floor, Courtroom 7, Wilmington,

Delaware 19801, on October 25, 2023 at 10:00 a.m. (prevailing Eastern Time).

        PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE FINAL RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.



 Dated: October 18, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ James E. O’Neill
                                                Richard M. Pachulski (admitted pro hac vice)
                                                Debra I. Grassgreen (admitted pro hac vice)
                                                Alan J. Kornfeld (admitted pro hac vice)
                                                James E. O’Neill (DE Bar No. 4042)
                                                919 N. Market Street, 17th Floor
                                                P.O. Box 8705
                                                Wilmington, DE 19899-8705 (Courier 19801)
                                                Telephone: (302) 652-4100
                                                Facsimile: (302) 652-4400
                                                Email: rpachulski@pszjlaw.com
                                                        dgrassgreen@pszjlaw.com
                                                        akornfeld@pszjlaw.com
                                                        joneill@pszjlaw.com


                                                Counsel to the Debtors and Debtors-in-Possession




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